Exhibit 2
     SME Artist                         SME Track                                        Social Media Account         Content URL

1    Bad Bunny                          MONACO                                           westinstfr                   https://www.instagram.com/reel/CzG7ap9r9MT/

2    Campsite Dream                     September                                        marriottbonvoy               https://www.instagram.com/p/CiyUdScpkWA/

3    Cheryl Lynn                        Got To Be Real                                   jwmarcoisland                https://www.instagram.com/p/CqBCUu-MOy5/

4    Doja Cat                           Vegas                                            marriottlegacy               https://www.tiktok.com/@tiffofalltrades/video/7121904304016936238

5    Justin Timberlake                  SexyBack                                         marriottbonvoy               https://www.instagram.com/reel/CjXUJd1AM_2/

6    Kaytranada, Charlotte Day Wilson   What You Need                                    gaylordnational              https://www.instagram.com/reel/CtHOma2NswB/

7    Khalid with John Mayer             Outta My Head                                    jwmarcoisland                https://www.instagram.com/p/CqD6xj5Ds1L/

8    Kina                               Get You The Moon (ft. Snow)                      ritzcarltondenver            https://www.instagram.com/reel/CVA5LW8JvnA/

9    Labrinth                           Forever                                          sheratondenverdowntown       https://www.instagram.com/reel/Cd4TYnKAppB/

10   Mariah Carey                       All I Want for Christmas Is You                  gaylordrockies               https://www.instagram.com/p/CW4GGI5D0YE/

11   Mariah Carey                       All I Want for Christmas Is You                  gaylordpalms                 https://www.instagram.com/p/ClOtQgHpUPs/

12   Mobb Deep                          Shook Ones, Pt. II                               watldowntown                 https://www.instagram.com/p/CtICUjkvHgt/

13   Nicky Youre & dazy                 Sunroof                                          jwmarcoisland                https://www.instagram.com/reel/CoDJnLMpGfN/

14   Percy Faith                        The Theme from "A Summer Place" - Single Version ritzcarltonkeybiscayne       https://www.instagram.com/reel/CbDvXsho-JV/

15   Redbone                            Come And Get Your Love                           jwmarriottanaheim            https://www.instagram.com/reel/Cx5wjAeRZh3/

16   Sparky Deathcamp                   September                                        ritzcarltoncleveland         https://www.instagram.com/reel/Cq_d_giNPx-/

17   The Chainsmokers                   Roses                                            ritzcarltonsouthbeach        https://www.instagram.com/reel/CfR2H9cgVwr/

18   Tony Bennett                       The Good Life                                    ritzcarlton                  https://www.instagram.com/reel/CdJwjYHIFkD/




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